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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: )
)
CENTER FOR ALTERNATIVE } Case No. 23-12482-JGR
MEDICINE, PLLC, ) Chapter 11
)
) (Subchapter V)
Debtor. )
r )
PAWNEE LEASING CORPORATION, )
)
Movant, )
)
)
)
)
MEDICINE, PLLC, )
)
Respondent. )

MOTION FOR RELIEF FROM AUTOMATIC STAY

vs
CENTER FOR ALTERNATIVE

COMES NOW, the Movant Pawnee Leasing Corporation (hereinafter referred to as “Movant”),

by and through its counsel, Harry L. Simon, P.C. and moves this Court for relief from the automatic stay

as follows:

1. The Debtor herein filed its Chapter 11 proceeding with this Court on or about June 7,
2023.

2. The Debtor is a Debtor in Possession of its assets.

3. On or about March 19, 2020, the Debtor entered into an Equipment Finance Agreement
with Tandem Finance, Inc. A copy of the Equipment Finance Agreement is attached
hereto as Exhibit “A”.

‘ 4. Pursuant to the terms of the Equipment Finance Agreement, Tandem Finance, Inc. agreed

to finance the purchase an Upgrade EMsella Chair, on behalf of the Debtor.

5. The Debtor agreed to make sixty-six (66) monthly payments to Tandem Finance, Inc.

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Thereafter, for valuable consideration, Tandem Finance, Inc. assigned all of its rights and
interest in the Equipment Finance Agreement to Movant.

A copy of the Assignment is attached hereto as Exhibit “B”.

The Movant took a first lien in subject finance Upgrade EMsella Chair.

A copy of the duly recorded UCC Financing Statement is attached hereto as Exhibit “C”.
At all relevant times, the Movant held a first interest in the financed Upgrade EMsella
Chair.

Attached hereto as Exhibit “D” is a copy the Payment History.

Said Equipment Finance Agreement is currently in default.

Debor owes Movant pre-Petition arrearages in the amount of $4,201.66.

The Debtor owes Movant the sum of $54,462.23 as a result of its breach of the
Equipment Finance Agreement.

The value of the subject collateral is approximately $8,500.00.

The Debtor does not have any interest or equity in the financed equipment.

That the Debtor is continuing to use the finance equipment and same is depreciating in
value.

The financed equipment is not necessary for the debtor to reorganize its business affairs.
On or about December 13, 2021, Tandem Finance, Inc. and the Debtor entered into a 2nd
Equipment Finance Agreement. A copy of the 2°¢Equipment Finance Agreement is
attached hereto as Exhibit “E”.

Pursuant to the terms of the 2"Equipment Finance Agreement, Tandem Finance, Inc.
financed the purchase of a Ensculpt NEO with Small RF+HIFEM applicators and EXLIS
ULTRA System on behalf of the Movant.

The Debtor agreed to repay Tandem Finance, Inc. by making sixty-six (66) monthly

payments.

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Thereafter, Tandem Finance, Inc. assigned all of its rights and interests in the 2"
Equipment Finance Agreement to Movant.

A copy of the Assignment is attached hereto as Exhibit “F”.

The Movant filed a UCC Financing Statement recording its first lien interest in the
financed equipment with the Colorado Secretary of States Office.

A copy of the duly executed UCC Financing Statement is attached hereto as Exhibit “G”
Attached hereto as Exhibit "H” is a copy of the Payment History.

The Debtor has filed to make its monthly payments to Movant.

As a result thereof, the Debtor has breached the 2"! Equipment Finance Agreement.

The pre-Petition arrearages were $18,822.35.

The payoff on the subject 2"! Equipment Finance Agreement is $255,350.84.

The value of the financed equipment is approximately $67,000.00.

Neither the Debtor nor its estate have any equity in the financed equipment.

That the financed equipment is not necessary for the Debtor to reorganize its business
affairs.

The Debtor continues to use the Movants collateral and same is depreciating in value.
Pursuant to §361 of the United States Bankruptcy Code, the Movant prays for Relief
From Stay so that it can retain possession of the financed equipment, together with such

other and further relief as this Court deems just and proper.

WHEREFORE, the Movant Pawnee Leasing Corporation prays that this Court enter an Order

granting relief from the automatic stay from the Debtor on the financed equipment described in

paragraphs 4 and 20 above and that Movant be granted such other and further relief as this Court deems

just and proper.

iL —

DATED at Denver, Colorado, this , day of November 2023.

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Respectfully submitted,

HARRY L. SIMON, PC

ne

L. Simon (No. 7942)

Attorneys for Movant Pawnee Leasing Corporation
10200 East Girard Avenue

Building B, Suite 120

Denver, Colorado 80231

(303) 758-6601

VERIFICATION
STATE OF COLORADO )
) ss.
CITY AND COUNTY OF DENVER )

I, Harry L. Simon, being duly sworn, depose and state:

That I am counsel for the Movant, Pawnee Leasing Corporation, in this matter. That I have read
the foregoing Motion for Relief From Stay and believe to the best of my knowledge that the statements
contained herein are true.

ry L. Sinton

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Subscribed and sworn to before me this 3 day of November, 2023.

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Notary Public | \

CAROLINE $. REPAIR
NOTARY PUBLIC
STATE OF COLORADO
NOTARY ID 19954005082
MY COMMISSION EXPIRES MAY 7, 2027

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NOTICE: This Is a legal commitment representing indebtedness. You will be required to pay taxes, fees and other charges in addition to
Payments. Some charges are In amounts greater than our actual costs, risks or exposure.

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Tandem Finance Inc 25700 Interstate 45 Suite 4084 The Woodlands TX, 77386 (Lender)

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Company Name: Center for Altemative Medicine, PLLC Contract # 375198
State of Formation: Colorado Billing Address: 2505 Kachina Dr

Federal ID #: XX-XXXXXXX Pueblo, CO 81008

Land/Mobile Phones: A9G4452009%-. County:

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ete VN MMPS ein ime NMUtttscom cs BLOls a eliniceelite meetin
Equipment Location: 2505 Kachina Dr
Pueblo CO 81008

her 2) Re) eS eS
Payment (plus any taxes): See Schedule B Term of Agreement (in months): See Schedule B
Total Number of Advance Payment (# Advance Payments ‘A
Payments: See Schedule B 0): $0
Total Initial Payment (Advance Payment +
Administration Fee: $185.00 Adm. Fee):

(Borrower hereby authorizes Lender to adjust the payments by no more than 10% to reflect actual final costs, including@
and installation charges and cost increases due to alternations requested by the Borrower

Borrower: Center for Alternative Medicine, PLLC
DecuSigned by: DocuSigned by:

Todor Dawis Managing member 3/17/2020
Signature Title Date

3/19/2020

Date

For the purpose of this Guaranty “you” means the undersigned{quarantors. yom 6 afiinterest in*the Borrower named above (“Borrower”).
You agree that we would not enter Into the Agreement witho is Guaranty. Yo ‘and severally unconditionally guaranty the full and
prompt payment and performance of all Borrower’s.o! ligatlonsxunder the 1. YOO if we change or renew the Agreement, or if any
payments made by Borrower are rescinded or voldst eto ; Insolvency, bankruptcy or reorganization, as if the payment had not been
made, We do not have to notify you If th fal It under the Agreement. If Borrower defaults, you will immediately pay in
accordance with the default provisions © &6 Obligations due thereunder. You agree that you will not be released or
discharged if we: (i) fail to perfect a s the Equipheént or any other property that secures the obligations of Borrower or any of
you (“Collateral”); (li) fall to prot 5 lator (lil) abandon ‘or release any Collateral. You agree that we do not have to proceed first
against Borrower, any guarantor. You walve notice of acceptance of this Guaranty and of all other notices or
demands and suretyshlp ind. You will reimburse us for ail expenses we incur in enforcing your rights against Borrower or
any of you, including ¥ 8’ fees and costs. You authorize us to obtain credit bureau reports for credit and collection
edit bureau or similar entity including reports of past due or otherwise delinquent payments
is an Irrevocable, continuing Guaranty and binds your heirs, administrators and representatives. You authorize us
through ectronic means, including emails and/or text messages to your cellular telephone number or other
may result in your incurring access or other fees. We are not obligated to communicate with you in this
mannek and you maygnot give“any notice to us electronically. YOU AGREE THAT THE AGREEMENTS REGARDING JURISDICTION,
E‘AND SERVICE OF PROCESS AND INTENT TO CONTRACT ELECTRONICALLY CONTAINED IN THE AGREEMENT APPLY TO
THIS GUA AU WAIVE, INSOFAR AS PERMITTED BY LAW, TRIAL BY JURY.

I
DO NOT Signs GUARANTY UNLESS YOU UNDERSTAND AND AGREE TO ALL OF ITS TERMS AND THE TERMS OF THE
AGREEMENT (INCLUDING PAGE 2-3).

to communicate with
wireless device, which

Guarantor: Theodore Davis ‘ Guarantor:
DocuSigned by:

Theodore Danis 3/17/2020
SOG ee Date Signature Date

Social Security: #HHHF3678 Phone: Social Security: Phone:

Home Address: 730 Sableglen Ct Colorado Springs, CO 80906 Home Address:

EXHIBIT

4 Page 1 of 3
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hereunder, the Term shall end after you have paid the total number of Payments In‘accordance with the terms hereof. We choose to
collect the Administration Fee with your first payment. If we do, it will be included in the Total Initial Payment. If this Agreement Isiflot finalized
other than due to our wrongful action, you agree that we may, at our option, retain the Advance Payment and Adminis Fee asillquidated
damages. Your Advance Payment will not earn interest. If Advance Payment is Indicated above, the Advance Payment shalibe Ae ed a to
nder thissAgreement, in

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IMPLIED AS TO THE CONDITION OF THE EQUIPMENT, ITS MERCHANTABLLITY, ITS FITNES: : ANY PARTICULAR
PURPOSE, ITS DESIGN, ITS CAPACITY, ITS QUALITY, OR WITH RESPECT TO ANY GHARA sal 3S50F TH! IPMENT. Do not
accept the Equipment unless you have inspected the Equipment and It is in good caning salisfactofpte you AS IS WEIERE {S and with
k eet AL and you agree to pay and perfom

to permitted by law. Neither

lo representations as to the

all faults. You agree that your obligations under this Agreement are ABSOLUTE AN
your obligations hereunder without offset, counterclaim or defense, all of which are her zt thety
the vendor nor any salesman is our agent or authorized to waive or alter any term or ition ofthis Ag
Equipment or any other matter by the vendor or salesman effect your obliga to us.
a mption o&fproperty from levy or sale under execution
the‘Uaited

3. Additional Waivers: You walve to the fullest extent permitted by law: (a) ts of

or other process for the collection of debts under the Constituil Nor laws of te tes or any state thereof, (b) demand, presentment,
protest, notice of dishonor, notice of protest, notice of nonpaymésjt, dillgence in col Bellon: notice of acceleration, notice of intent to accelerate,
notice of sale or intent to sell or notice of demand, dijigeace In <¢ ecting, grace, and all‘other notices, rights, requirements or formalities of any
kind necessary. to charge or hold you or any other person.o antity [lable on any obligations hereunder; and (c) any further receipt for or
acknowledgment of any Collateral now or he eposited-as‘secunity for the obligations hereunder.

4. Security Interest: As security for yo ligatons'hereund You grant to us a first priority security interest in the Equipment, all additions,
attachments, accessories and accessions te It, all ceheral Intangibles relating to the Equipment and all proceeds thereof, as well as any other
Collateral you provide to us,_effectiv italn any rights it the Equipment and until all your obligations are satisfied and cannot be

recaptured or rescinded. <=

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at only in the conducf of your business in a careful and proper manner and only for commercial
, household, consumer or agricultural purposes; maintain the Equipment in the same condition

abi r and tear; replace any damaged parts; not make any alterations to the Equipment without
Xb, 7 replacements, paris, or accessories immediately become subject to our security Interest In the
Equipgient. The Equipmep>cannot bevremoved without our prior written consent. We may inspect the Equipment during normal business hours.
J igiiswincer this Agreement or land or lease the Equipment. We may assign our rights without notice and our
assl will not be sdblect to any defense or claim you have against us.
&. Late’ entiGther ¢ es: If you fail to pay any Payment or other amount on Its due date, you will pay a late payment fee aqual to 15%
of the ee or other amount. You will also pay interest calculated from the due date at the rate of 24% percent per annum or the
maximum iri dle permitted by Colorado law, whichever Is lower. You will pay a $30 fee if a check or ACH payment is retumed unpaid.
You must notify us 15 business days prior to changing your ACH bank or pay a $110 fee. There are fees of $30 for single or $55 fora
permanent change if you request a change in Payment dates. If we engage an attorney or collectién agency to collect any amount you will pay
collection fees. On expiration or earlier termination of this Agreement you will pay a termination fee of $95.00.
7. Loss, Damage, and Indemnification: [If any Equipment is lost, stolen, destroyed, damaged beyond repair, or otherwise rendered
permanently unfit for use, you will promptly pay the remaining Payments discounted to present value at 4% per annum, together with any other
amounts then due hereunder. You agree to defend, Indemnify and hold us harmless from all ‘ability, claims, damages, or other Iosses,
Including costs and reasonable attorneys’ fees, arising out of or In any manner connected with this Agreement or tha Equipment.

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Theodora Davis

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8. Taxes and Fees: You will promptly relmburse us for and hold us harmless against all state, federal, and other fees, assessments, charges
and taxes (including penalties and interest but excluding taxes on our taxable income), which now or hereafter may be imposed on or with
respect to this Agreement, the Equipment, or amounts payable hereunder. You authorize us, at our election to file personal property and other
tax returns with respect to the Equipment and this Agreement. You will pay a tax-filing fee of $55.00 for each tax return filed with regard to the
Equipment. Upon expiration, termination, or a default under this Agreement, you will pay 2% of the estimated taxes for any assessed but
unpaid taxes or other post closing costs we may incur. At the end of the Term, you will pay a termination fee of $95.00.
9. Insurance: You will maintain: physical damage (property) insurance for the sum of all Payments due and to become due or replacement
value, whichever fs higher, naming us as a “Loss Payee” on a “Lender's Loss Payable" endorsement. You must provide us with written
evidence of effective insurance on an ACORD 23 or equivalent document within 30 days of our request. If you do not provide evidence of
required insurance fo us when due, we may, but have no obligation to, obtain Insurance from an Insurer of our choosing in such forms and
amounts as we deem reasonable to protect our interests ("Equipment Insurance”), Equipment Insurance covers the equipment, us and our
interests only; Equipment Insurance does not name you as an Insured or loss payee. You agree to pay us periodic charges for Equipment
Insurance (“Insurance Charges”), any portion of which may generate a profit to us and/or our agents, and which include: premiums | that may be
higher than the premiums for required insurance If you maintained required insurance separately; administration fees and experience based
premium refund credits that may.not be shared with Borrower; and a finance charge on any premium advances made by or on our behallf, that
will not exceed the maximum lawful-interest rate under applicable law. After our receipt of evidence of required Insurance, your Insurance
Charge payment obligation will cease. You agree io arbitrate any dispute with us or with our agents regaiding Equipment Insurance or
insurance Charges under the rules of the American Arbitration Association in Larimer County, Colorado; that arbitration shall be he exclusive
remedy for such disputes; and that class arbitration Is not permitted. This arbitration requirement does not apply to any 9 gther pro lon of this
Agreement. TN,
10. Title{UCC/Power of Attorney: You will own and have title to the Equipment, subject to our security interest, You ith cep,
free and clear from lens and security interests of all kinds. You appoint us attorney-in-fact to file UCG fina clfig’statemet
actions we deem necessary or desirable to protect our interest; and to correct Information entries in this el
171. Default: It will be an event of default if: (a) you fail to pay a Payment or any sum on its 4
agreement In this Agreement or any other agreement with us; (c) you or any guarantor cles,
suffers a deterioration of financial health; or (d) you or any guarantor file or have filed agai
or similar rellef under the federal bankruptcy laws, or a trustee or recelver Is appoln' ove e man onisyassets. ;. Upon an event of default you
owe us: (a) the amount of all accrued unpaid Payments and other amounts payable jsthe amount of all one
Payments for the remaining Term of this Agreement discounted to present value from uate at
may disable or foreclose on, sell or lease the Equipment as permitted by I, You will algo pay BaDY
24% per year or the maximum rate permitted by applicable law. We may procsed by court acilo enforce our rights. You will owe all casts
and expenses, Including legal fees, collection fees or commisslop§, travel, or a NO ner co t we f nforcing our remedies. No remedy given
in this paragraph Is Intended to be exclusive, and each shall bi lative. Theses me 34 gies ate in addition to any other permitted at law or in

equity. a
12. Miscellaneous: If you give us other colateral biigations, our rights will be the same as to the Equipment. This Is a security
agreement and not a lease under the Unifo: Rdéts adopted by the State of Colorado (the “UCC"). Any interest collected under
this Agreement will not exceed the hi espera Dennis applicable law and any overcharge will be refunded. We may report your
performance to any national credit naa and businéssand consumer credit bureau reports for credit and collection purposes.
Captions are Intended for convenience ren ety and shalt alter the text. This Agreement contains the entire agreement between the
parties and may not be a ee one of our executive officers. Your agreements shall survive expiration or terminatian of
this Agreement, You agi additional acts we request to protect our interests. Any notice to us must be In writing and must be
delivered by U.S. Mal fRetum Recelf ted or another means generating a written receipt. You authorize us to communicate with you
through electronic m . Including @ ark alls or text messages to your cellular telephone number or other wireless device, which you

recognizeqiayin ares It Hiybur incurring access orother fees. We are not obligated to communicate with you in this manner and you may not give
any nofigé to us electro Rally. Time jsp Ft the the essence of this Agreement. This Agreement shall be binding upon and shall inure to the benefit
of eachyparty’s successo' id assir (subject to paragraph 5). It Is the intention of the parties that the Equipment shall remain personal
propeit Mand not be ar if affixed to real property. This Agreement shall be governed by the laws of Colorado. You agree that legal

actlons:‘may ont be ie ht in the state or federal courts In Larimer County, Colorado, except that we may file any action where the equipment
is or nisibeen aay at_any time. You waive objection to venue and agree to accept service of process at your (the Borrower's) Billing
Address onagas>” egi>” You hereby waive, insofar as permitted by law, trial by jury. This Agreement may be executed, communicated, and
retalned el iically and a facsimile or other electronic version shall be admissible. For purposes of perfecting a security interest in chattel
paper by posssasion, only the counterpart of this Agreement that bears our (lender’s) manually-applied “wet Ink" signature constitutes chattel
paper. The electronic counterpart of this Agreement stored under our control shall be the authoritative copy under U.C.C. 9-105. To the extent
this Agreement is electronic chattel paper, no security interest may be created or perfected and no assignment effective except through control
of such authoritative copy. You will have access to the authoritative copy for purposes of making a duplicate. Any officer/owner/pariner
executing this document hereby affirms that all your shareholders/owners/partners have been Identified to us in writing.

If you request in writing we will send you a copy of this Agreement in larger type.
Initials

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Theodore Davis

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Case:23-12482-JGR Doc#:122 FilgseW Sae@quiesfered:11/13/23 14:24:15 FeageRigt B7b198

Quantity Equipment Description Serial # Supplier Name and Contact
1 Upgrade EMsella Chair Only A799.001UPG-U2 BTL Industries, Inc

362 Elm Street -

Marlborough, MA 01752
866-285-1656

Ua eS) xt 74208 (8)\ Cl 50 ml al) 1 Os ALON RO)EAWE COMER SB) se: Alm
As a convenience to Borrower, by completing this section Borrower hereby authorizes Lender to initlate debit entries and to Initiate, if necessary, credit
entries and adjustments for any debit entries in error to the account Indicated below (the “Account’) with the bank named below (the “Bank") for all
amounts dus under the referenced Equipment Finance Agreement (the “EFA’), including without limitation, the Total Initial Payment shown on page 1 of
the EFA and all Payments, late fees, taxes, non-sufficient funds charges, reimbursements and other amounts due under the EFA, Borrower further
authorizes Lender or any such designee to deliver a copy of this Addendum to the Bank as evidence of Borrower's authorization. Borrower reaffirms the
account is a commercial account in the name of the Borrower.

Name on Account: Center for Alternative Medicine _-

Bank Name: ENT . . Phone: "
Commercial Checking Account Number: 1000604699100 2 u
Transit / ABA Number (lower left corner of check, 9 digits): 307070005 _. 1 4

This authority Is to remain in full force and effect until Lender and the Bank have received written nolific: np Beyer o in such
time and in such manner as to afford Lender and the Bank a reasonable opportunity to act on it, it expres food That a ae of 15
business days is required. Borrower represents, warrants, covenants and agrees that, until all of its obligaficns under the a Satisfied in Yulr (a) the
account identified by account name, account number and bank name and address that is shown on theYage of the void orrower provides

to Lender by attaching to this Addendum is the Account set forth above; (b) Borrower will me a As with the Bank
throughout the term of the EFA, excapt as provided herein; and (d) Lender or ifs designee may, at y, time's fime to time, issue a pre-nofification
to the Bank with respect to such Account. " oy Y Sea

SOUT SIS Senedule of Payments on Page 1
her_or tior to EFA commencement, delive

owadks bank forany reason, Lessor may In its sole discretion

ns What the Account is a commercial account in the name of

Borrower agrees to pay and authorizes Lessor to debit the Account for the "ToL
of the EFA immediately upon execution of the EFA and this Agreement me aa
acceptance of the equipment or funding by Lessor. [f the TIP is noligaid to Lessor bye
cancel the EFA and have no obligations under or with respect Lae ‘A. Borrower co
the Borrower and contains ample funds to pay the TIP onthe date NE executes this A Agree
gta Ors UES) VEO] BaF iatecOl irae) iin iminec) el leae Nn ee, UT esa
IMPORTANT: DO NOT SIGN AGREEMENT UNTISTHIS S Ess OEM FILLED OUT, YOU (THE SIGNER, PERSONALLY AS WELL AS THE
BORROWER) ARE RESPONSIBLE FO ‘CORRECTNESS IS SECTION.
The person signing this agreement Individfially and in hisiher capaci an officer/owner of the Borrower and/or the Guarantor represents and
warrants that (1) this agreement is duly one equipment fingyiced under this agreement will be used in the ordinary course of the business of
the Borrower; (2) he or she ov hd authority to sign this agreement with all necessary authority from the managing member(s),
directors, senior officers 9 rma a nN Si Borour and/or Guarantor and their shareholders, members, partners or other owners; (3) the
following Is a complete tig fthe ownerstobine ‘ower and (4) the transaction is to the direct financial benefit of any Guarantor and good ‘
consideration f this g a

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100

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If this Addendimis executed by Borrower and thereafter sent to Lender by facsimile transmission, then such facsimile transmission shall, upon
acceptance and execulion by Lender in its offices, be admissible for all purposes as an original Addendum. Borrower agrees to promptly forward to
Lender this Addendum with Borrower’s manual signature thereon. DO NOT SIGN THIS SCHEDULE UNLESS YOU UNDERSTAND AND AGREE TO

ALL OF ITS TERMS AND CONDITIONS.

BORROWER: LENDER:
Center for Alternative Medicine, PLLC Tandem Finance Inc
‘Docetigeed by

(Haakon. dare Doss Mellen, (O8-

SAMINGHZBPSigner on behalf of Borrower and Guarantor Wonzat Signer
Theodore Davis Wayne woot! ey, coo
Print Name Print Name

* j. 3/19/2020

Managing member 3/17/2020 coo /19/
Title Date Title Date

v190208

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TENSES 12482-JGR Doct 122 Filed:11/13/23  EntereteButes/aige rarz atthe repoaliuigiagt ge? docusiannet

Contract #: 375198

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Date: 3/17/2020

Borrower: Center for Alternative Medicine, PLLC
Lender: Tandem Finance Inc

This addendum is made part of the lease agreement dated between Lender and Borrower. In consideration of the receipt
by each party of good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged by each
party, the parties agree that whereas the Borrower desires to make the following changes to the above-mentioned lease
agreement:

Contact Payments (1-6) $99.00 Periodic Payment (Payments 7-66) $1,856.88

Pair a emere) sie] su (eit)
The Borrower hereby agrees to this change. All other terms and conditions of the Agreement remain iff
effect.

acceptance and execution by us in our offices, the original addendum and ceare
purposes as the original lease aoe You agree to promptly forwar 4

=a eer Finance Inc
( agus » (BB:

Authorized Signor

LitfetizZed Signor

or . , po
Theodore Danis __ Re.

Theodore Davis wayne Woolley, COO

Print Name Print Name
3/17/2020 coo 3/19/2020
Date Title Date

V190208

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BEES eo) es

Contract # 375198

Borrower Center for Alternative Medicine, PLLC

Financed Equipment See Schedule "A of the assigned EFA

BES pee exe) Payee) Mes

FOR VALUE RECEIVED Tandem Finance Inc (Assignor) the receipt and sufficiency of which Assignor acknowledges

does hereby sell assign and transfer to PAWNEE LEASING CORPORATION (Assignee) Its successors and assigns

the annexed equipment finance agreement (the EFA’) any collateral agreement any additional collateral in the form of
stocks bonds certificates of deposit any other agreement related to the EFA and the UCC+1 between Assignor as
lender and the borrower identified above together with all of Assignor’s rights, title and Interest and all ancillary rights in
and to the equipment described therein and all of the Assignor's rights and remedies thereunder Including but not limited
to the right to collect any and all payments due and to become due thereon the right to perfect any additional collateral or
collateral agreement, and all monies due or to become due in connection with the exercise by the lessee of any option if
any to purchase the equipment and further Including the right in Assignees name to take all proceedings legal

equitable or other that Assignor might take save for this assignment. The equipment In the assigned EFA is new unless
otherwise disclosed and the consideration paid by Assignee does not include any service or other Item-of value that has
not been disclosed on the EFA or the Invoice provided to Assignor To the best of Assignor's knowledge all parties to the
EFA were competent at the time of execution there is no undisclosed agreement concession or litigation of any nature
affecting the EFA, and there are no vaild defenses in law or equity to the EFA as it exists in the hands of the Assignee
after this assignment. Assignor has full and perfect title to convey the EFA and equipment free of any encumbrance lien

or any other Interest of third parties the equipment which Is the subject of the EFA has been shipped and installed in
accordance with the EFA and on the dates specified no condition exists that would permit the lessee to not pay the EFA
paymenis in full and the Assignor Is authorized to do business In the state of lessee’s location Assignor has provided
Assignee all Information about the lessee the equipment, the credit Investigation and the vendor that Is known to
Assignor The terms and conditions of the EFA agreement shall survive this Assignment. The terms of this Assignment
shall be binding upon the heirs and successors of the parties

1 hereby assign to Pawnee Leasing Corporation, my purchase money security interest and any other rights In the
equipment described in the EFA. If we have made any payments to the vendor for the equipment (and not to the
Borrower named above) | represent that | have made this payment, on behalf of Pawnee and as Ils agent for this purpose
only and | request relmbursement for such payment.

If this Assignment Is executed by Assignor and thereafter sent to Assignee by facsimile transmission then until such time
as Assignee receives this Assignment with Assignor s manual signature thereon such facsimile transmission shall
constitute upon signature by Assignee and designation as Original’ the orlginal Assignment and chattel paper and shall
be admissible for all purposes as the original Assignment. Assignor agrees to promplly forward to Assignee the manually-
signed Assignment and upon receipt by us the manually-signed Assignment shall constitute the chattel paper In lieu of

such facsimile transmission
This Assignment has been made in and shall be construed in accordance with the laws of the State of Colorado Any sults

or actions for breach or enforcement of this Assignment shall be Insiltuted and maintained In the state or federal courts
sitting in Larimer County State of Colorado and Assignor submits fo the jurisdiction of such courts and waives any object

to such Jurisdiction and venue

eae)
ASSIGNOR

Authorize Signer

Wayne Woolley, COO 12/13/21
Print Name Title Date

Tandem Finance Inc.
Company

EXHIBIT

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iLien Cover Page

Date Printed: 03/20/2020

Debtor:

CENTER FOR ALTERNATIVE MEDICINE, PLLC
2505 Kachina Dr
Pueblo, CO 81008

lease num: 375198
REF2:

REF3:

REF4:

Ref:

Ref6:

Ref7:

Law Firm Bill Code:

iLien File #: 74922793
Order Confirmation #: 74298839

UserlD: 285755
UserName: AMARILYS CASTRO DELOZIER
Number of Collateral Pages Attached: 1

Transaction Type: Original
Jurisdiction: CO, Secretary of State

Mail Address (Please send attachments to):
CT Lien Solutions

330 N. Brand Blvd Suite 700

Glendale, CA 91203

FAX: 818-662-4144

“Cas cr : 124: Page11 of 31
Case:23-12482-JGR Doc#:122 Filed:11/13/23 Entered:11/13/23 14:24:15 g

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UCC FINANCING STATEMENT -

FOLLOW INSTRUCTIONS Lien Solutions
A. NAME & PHONE OF CONTACT AT FILER (optional Representation of filing
Name: Wolters Kiuwer Lien Solutions Phone: 800-334 -3282 Fax: 818-662-4144 spas
This filing is Completed

B. E-MAIL CONTACT AT FILER (optional) File Number : 20202027686

uccfilingreturn @wolterskluwer.com File Date +: 20-Mar-2020
C. SEND ACKNOWLEDGMENT TO: (Name and Address)

Lien Solutions - 74298839
P.O. Box 29071 ° , .
Glendale, CA 91209-9071 COCO
File with: Secretary of State, CO THE ABOVE SPACE Is FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide only one Debtor name (1a or ‘1b) (use exact, full name;
— name will not fit in line 1b, leave all of item 1 blank, check here and provide the Indi
Ta. ORGANIZATION'S NAME

CENTER FOR ALTERNATIVE MEDICINE, PLLC

do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
vidual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

OR 1b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) SUFFIX
1c, MAILING ADDRESS CITY STATE [POSTAL CODE COUNTRY
2505 Kachina Dr Pueblo co 81008 USA

2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full nai

me; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's

name will not fit in line 2b, leave all of item 2 blank, check here TY and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

2a, ORGANIZATION'S NAME

OR

2b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITI TALS) SUFFIX

2c. MAILING ADDRESS

CITY STATE | POSTAL CODE COUNTRY
t

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only gone Secured Party name (3a or 3b)
3a. ORGANIZATION'S NAME

C T Corporation System, as representative

OR 3b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) SUFFIX
3c, MAILING ADDRESS CITY STATE | POSTAL CODE COUNTRY
330 N Brand Blvd, Suite 700; Atin: SPRS Glendale CA 91203 USA
— 4. COLLATERAL: This financing statement covers the following collateral:

This filing covers the following Properties, assets and tights of Debtor, whe

Collateral Equipment Exhibit attached

5. Check only if applicable and check only one box: Collateral is
6a. Check only if applicable and check only one box:

CJ Public-Finance Transaction T] Manufactured-Home Transaction TC] A Debtor is a Transmitting Utility

[Theta in a Trust (see UCC1Ad, item 17 and instructions) Q being administered by a Decedent's Personal Representative

6b. Check only if applicable and check only one box:
(_] Agricuttural Lien [_] Non-Ucc Fiting

7. ALTERNATIVE DESIGNATION (if applicable): CT] Lessee/Lessor Ty Consignee/Consignor Q Seller/Buyer CJ Bailee/Bailor oO Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
74298839
Prepared by Lien Solutions, P.O. Box 29074 .
FILING OFFICE Copy — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/1 1) Glendale, CA 91209-9071 Tel (800) 331-3282

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Quantity

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EFA Schedule “A”
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The Authoritative Copy of this record is held at Na2.cocusign.r
Contract #: 375198

Serial # Supplier Name and Contact

Equipment Description

Upgrade EMsella Chair Only

A799.001UPG-U2 BTL Industries, Inc

PT

362 Elm Street

Mariborough, MA 01752
866-285-1656

Vw

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; Payment History

co
5 11/10/2023
<t Contract Ip 375198
a Customer Name: CENTER FOR ALTERNATIVE MEDICIN
>)
& Address: 2505 Kachina Dr .
Pueblo, co 81008-1573
9 Start Date: 3/1/2020
a Term 66

<t Uninvoiced Rent $40,851.36
— Exctudina Tax

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The Authoritati f this record is held at na2.docusign.net
Co TANDEM
ed FINANCE

NOTICE: This is a legal commitment representing indebtedness. You will be required to pay taxes, fees and other charges in addition to
Payments. Some charges are in amounts greater than our actual costs, risks or exposure.

ee Sa A eee SS

Tandem Finance Inc 3801 Automation Way Suite 207 Fort Collins CO, 80525 (Lender)
Corey eat cic tere LN) lint c emia mex edy SLeLecL COLL ToM=> cole nske Lo) Cunsre Mere) g Skee Lom ELLE)

a

Company Name: Center for Alternative Medicine, PLLC Contract # Pe
State of Formation: Colorado Billing Address: 2505 Kachina Dr

Federal ID #: XX-XXXXXXX Pueblo, CO 81008

Land/Mobile Phones: 719-544-2009/ County:

OTT APL cM LTRS EELON Ul eLcue) beskewealtcsce cre Mat lre (et Canard

f=XelU) Te =a me) =tsrels eae), Ried Lee Cine eRe eIKoSie
Equipment Location: 2505 Kachina Dr
Pueblo CO 81008

Se aa eee a aS
Payment (plus any taxes): See Schedule B Term of Agreement (in months): See Schedule B
Total Number of Advance Payment (# Advance Payments e
Payments: See Schedule B 0): $0
Total Initial Payment (Advance Payment +
Administration Fee: $185.00 Adm. Fee): $185.0

(Borrower hereby authorizes Lender to adjust the payments by no more than 10% fo reflect actual final costs, includin additional
and installation charges and cost increases due to alternations requested by the Borrower
BLOM ON Ms) Mes ow Cll) ain MIRO toto O]U RELL) aineo PPA OPA ee ACcint oii beware

Borrower; Center for Altemative Medicine, PLLC Accepted by Lend

DocuSigned by:
| Thrsdore Danis thartier 12/9/2021 ta

Title Date

12/13/2021

Signature Date

For the purpose of this Guaranty “you” means the undersigned yeas aminterest in*the Borrower named above (“Borrower”).
You agree that we would not enter into the Agreement withoutsthis Guaranty. You 9 nd severally unconditionally guaranty the full and
prompt payment and performance of all Borrower’s,obligationsgunder the Agreementeysn if we change or renew the Agreement, or if any
payments made by Borrower are rescinded or voidediqiisto {he insolvency, bankruptcy or reorganization, as if the payment had not been

est ve intdefault under the Agreement. If Borrower defaults, you will immediately pay in
accordance with the default provisio Agreement all€obligations due thereunder. You agree that you will not be released or
discharged if we: (i) fail to perfect a se i iin the Equip ‘ent or any other property that secures the obligations of Borrower or any of
you (“Collateral”); (il) fail to prote a oP release any Collateral. You agree that we do not have to proceed first

against Borrower, any Goffateral ROuies*quarantor. You waive notice of acceptance of this Guaranty and of all other notices or
demands and suretyshipja iad. You will reimburse us for all expenses we incur jn enforcing your rights against Borrower or
any of you, including wut i leys’ fees and costs. You authorize us to obtain credit bureau reports for credit and collection
purposes & fo anycredit bureau or similar entity Including reports of past due or otherwise delinquent payments

under th

to corpimunicate with yauat tronic means, including emails and/or text messages to your cellular telephone number or other
recognize

DO NOT SIGNEFAIS GUARANTY UNLESS YOU UNDERSTAND AND AGREE TO ALL OF ITS TERMS AND THE TERMS OF THE
AGREEMENT (INCLUDING PAGE 2-3).

Guarantor: Theodore Davis Guarantor:
DocuSigned by:
( sttodon. Doonis 12/9/2021
SSTQHETRSO 75E 428... Date Signature Date
Social Security: HHEHE3678 Phone: Social Security: Phone:
Home Address: 2505 Kachina Dr Pueblo , CO 81008 Home Address:

EXHIBIT

Ee Page 1 of 3

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The Authoritati f this record is held at na2.docusign-nef
WY “ TANDEM
me FINANCE
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1. Equipment Finance Agreement; Payments; Term: WE (lender) will advance to YOU (borrower}, directly or by payment to the vendor of
the Equipment (the “Vendor”), funds In order for you to purchase the equipment described (fogether with upgrades, attachments and
replacements, the "Equipment’) on page 1 and on the terms and conditions stated hereln and on page 3, Schedule “A", and any and all
Addenda if we are satisfled that you have accepted the Equipment and have satisfied all other conditions. One of your officers or other
representatives will be asked to confirm your acceptance of the Equipment, meaning that it Is satisfactory to you, by telephone or other means.
This confirmation will be binding on you and we will rely on It in making the advance. You unconditionally promise to repay the amount we
advance, to us or our successors or assigns, with interest, by paying to us the Payments for the number of months set forth above along with all
other amounts required under the terms of this Agreement. Payments are due in advance, at our option on either the first (fst) or fifteenth
(15th) day of each calendar month. The first Payment is due on the date we specify that occurs on or after the date we advance any funds and
the remaining Payments will be due on the same day of each month. You will also pay an amount equal to 1/30th of the monthly Payment,
multiplied by the number of days between the date we first advance funds and the date of your first Payment, which you agree Includes Interest
and a fee for early funding and deferral of payment date. YOU MAY NOT PREPAY ANY PAYMENT OR OTHER AMOUNT, except that if you
are not in default you may terminate this Agreement on any Payment date by paying all amounts then due (including accrued taxes) together
with all unpald Payments for the remaining Term discounted to present value at 4%. The term of this Agreement (the “Term”) shalf commence
on the date this Agreement is accepted In writing by us and, provided you have successfully performed all of your dutles and obligations
hereunder, the Term shall end after you have paid the total number of Payments in accordance with the terms hereof. We m@y, choose to
collect the Administration Fee with your first payment. If we do, it will be included In the Total Initial Payment. If this Agreement isnot finalized
other than due to our wrongful action, you agree that we may, at our option, retain the Advance Payment and Administratiag Fee asiliquidated

damages. Your Advance Payment will not earn interest. If Advance Payment is indicated above, the Advance Payment § first to
the first Payment due hereunder and any additional Advance Payment shall be applied fo the last Payments? I sament, in
reverse order. Any calculation involving Payments will be increased by taxes on the Paymeni(s). oo

2._Disclaimers of Warranties: Limitation of Remedies: WE MAKE NO (AND DISCLAIM ALL REESS OR
IMPLIED AS TO THE CONDITION OF THE EQUIPMENT, ITS MERCHANTABILITY, ITS FITNESS ARTICULAR

PURPOSE, ITS DESIGN, ITS CAPACITY, ITS QUALITY, OR WITH RESPECT TO ANY CHARA ESEQUIPMENT. Do not
accept the Equipment unless you have inspected the Equipment and itis in good condjtiontaad y
all faults. You agree that your obligations under this Agreement are ABSOLUTE ANDFUNC®) i

waived

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3. Additional Waivers: a
or other process for the collection of debts under the Constitutiggjor laws of theWpjed Giates or any state thereof, (b) demand, presentment,

e “notice of acceleration, notice of intent to accelerate,

attachments, accessories and accessigps,to it, all general intang 5 relating to the Equipment and all proceeds thereof, as well as any other
Collateral you provide fo us, effec! dn yougoptain any rights“in the Equipment and until all your obligations are satisfied and cannot be
CROs uar Aa. RT xp

pL E Faent only in the conduct of your business in a careful and proper manner and only for commercial!
or business purposes ral, \ household, consumer or agricultural purposes; maintain the Equipment in the same condition

as when delivered, subject only to reasgnable wear and tear; replace any damaged parts; not make any alterations to the Equipment without
our prio Siri tenteonsenk omsy replacements, parts, or accessories immediately become subject to our security interest In the
Equippient. The Equipmegt eftemoved without our prior written consent. We may inspect the Equipment during normal business houts.

You mya net assign your ighisetin der this Agreement or fend or lease the Equipment. We may assign our rights without nofice and our
assignee will not ba sfsect fo any defense or claim you have against us.

6. LatelRayment/Othe Charges: If you fall to pay any Payment or other amount on its due date, you will pay a lafe payment fee equal to 15%
of the client or other amount. You will also pay Interest. calculated from the due date at the rate of 24% percent per annum or the
maximum I ate permitted by Colorado law, whichever is lower. You will pay a $30 fee if a check or ACH payment fs retumed unpaid.
You must notify us 15 business days prior to changing your ACH bank or pay a $110 fee. There are fees of $30 for single or $55 for a
permanent change [if you request a change in Payment dates. If we engage an attomey or collection agency fo collect any amount you will pay
collection fees. On expiration or earlier termination of this Agreement you will pay a termination fee of $95.00.

7. Loss, Damage, and Indemnification: If any Equipment is lost, stolen, destroyed, damaged beyond repair, or othenvise rendered
permanenily unfit for use, you will promptly pay the remaining Payments discounted to present value at 4% per annum, together with any other
amounts then due hereunder. You agree to defend, indemnify and hold us-harmless from all liability, claims, damages, or other losses,
Including costs and reasonable attorneys’ fees, arising out of or in any manner connected with this Agreement or the Equipment.

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Theodora Davis

Page 2 of 3
77 TAEFA V20210602

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The Authoritath f this record Is held at na2.docusign.nal
NS SS TAN DEM
—/ FINANCE

8. Taxes and Fees: You will promptly reimburse us for and hold us harmless against all state, federal, and other fees, assessments, charges
and taxes (including penalties and interest but excluding taxes on our taxable income), which now or hereafter may be imposed on or with
respect to this Agreement, the Equipment, or amounts payable hereunder. Upon expiration, termination, or a default under this Agreement, you
will pay 2% of the estimated taxes for any assessed but unpald taxes or other post closing costs we may incur. \
9. Insurance: You will maintain: physical damage (property) insurance for the sum of all Payments due and to become due or replacement
value, whichever Is higher, naming us as a “Loss Payee” on a “Lender's Loss Payable” endorsement. You must provide us with written
evidence of effective insurance on an ACORD 23 or equivalent document within 30 days of our request. If you do not provide evidence of
required insurance to us when due, we may, but have no obligatlon to, obtain insurance from an insurer of our choosing In such forms and
amounts as we deem reasonable to protect our interests ("Equipment Insurance”). Equipment Insurance covers the equipment, us and our
interests only; Equipment Insurance does not name you as an insured or loss payee. You agree to pay us periodic charges for Equipment
Insurance (“Insurance Charges”), any portion of which may generate a profit to us and/or our agents, and which include: premiums that may be
higher than the premiums for required insurance if you maintained required insurance separately; administration fees and experience based
“premium refund credits that may not be shared with Borrower: and a finance charge on any premium advances made by or on our behalf, that ~
will not exceed the maximum lawful Interest rate under applicable law. After our recelpt-of evidence of required insurance, your Insurance
Charge payment obligation will cease. You agree {o arbitrate any dispute with us or with our agents regarding Equipment Insurance or
Insurance Charges under the rules of the American Arbitration Association in Larimer County, Colorado; that arbitration shall be the exclusive
remedy for such disputes; and that class arbitration is not permitted. This arbitration requirement does not apply to any other proyjsion of this

es

free and clear from liens and security interests of all kinds. You appoint us atforney-in-fact fo file UCC financing staten
actions we deem necessary or desirable to protect our interest; and to correct information entries in this Agreement.
11, Defauit: It will be an event of defautt if: (a) you fall to pay a Payment or any sum on its due dat ey
agreement in this Agreement or any other agreement with us; (c) you or any guarantor dies, becomesgi e lic
suffers a deterioration of financial health; or (d) you or any guarantor file or have filed against you o sige petition for’véarg guidation,
or similar relief under the federal bankruptcy laws, or a trustee or receiver is appointed over yor its assets , EVE

owe us: (a) the amount of all accrued unpaid Payments and other amounts payable eee dount of all unpaid

ue num. in addition, we
may disable or foreclose on, sell or lease the Equipment as permitted by law. You will Eso payiinteresGion any un damages at the lower of
24% per year or the maximum rate permitted by applicable law. We may proceed by court we exforce fs. You will owe all costs

Ag E6ME ee i ine
Payments for the remaining Term of this Agreement discounted to present value from the da % fi

and expenses, including legal fees, collection fees or commissions, travelggpany other East we ifgyr enigrciig’our remedies. No remedy given
in this paragraph is intended to be exclusive, and each shall be cumulative 8k Bdies are It"additién to any other permitted at Jaw or in
equity. ea
12. Miscellaneous: If you give us other collateral to secure youmobligations, our righ ill be the same as to the Equipment. This is a security
agreement and not a lease under the Liniform Commercial Code@is adopted by the State"5! Colorado (the “UCC"). Any interest collected under
this Agreement will not exceed the highest amount erm applicable faw and any overcharge will be refunded. We may report your
performance to any national credit bureau_ai reac S and consumer credit bureau reports for credit and collection purposes.
Captions are intended for convenience org&ferencet all
parties and may not be amended ex Bi 4 Wone of ourexecutive officers. Your agreements shall survive expiration or termination of
this Agreement. You agree to perform dd Laci protect our interests. Any notice to us must be In writing and must be
delivered by U.S. Mall, RetarftBreipt Réquesféd’or another means generating a written receipt. You authorize us to communicate with you
through electronic meaysyincludingse lsfand/or text messages to your cellular telephone number or other wireless device, which you
Raucessy gy other fees. We are not obligated fo communicate with you in this manner and you may not give
ly. Time i§Sof thé\eSsence of this Agreement. This Agreement shall be binding upon and shall inure to the benefit .
and assigns: sub to paragraph 5). It is the intention of the parties that the Equipment shail remain personal
e even if affixed to real property. This Agreement shall be governed by the laws of Colorado. You aqree that legal
in.the.sfate or federal courts in Larimer County, Colorado, except that we may file any action where the equipment /
mie. You waive objection to venue and agree to accept service of process at your (the Borrower's) Billing
reSston Page 1. fou hereby waive, insofar _as permitted by law, trial by [ury. This Agreement may be executed, communicated, and
rie penal nd a facsimile or other electronic version shall be admissible. For purposes of perfecting a security interest in chattel
paper by aoe iosy’ only the counterpart of this Agreement that bears our (lender's) manually-applied “wet ink" signature constitutes chattel
paper. The electronic counterpart of this Agreement stored under our control shall be the authoritative copy under U.C.G. 9-105. To the extent
thls Agreement is electronic chattel paper, no security interest may be created or perfected and no assignment effective except through control
of such authoritative copy. You will have access to the authoritative copy for purposes of making a duplicate. Any officer/owner/pariner
executing this document hereby affirms that all your shareholders/owners/pariners have been identified to us in writing.

Addi

If you request in writing we will send you a copy of this Agreement in larger type.

Initials
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Theodore Davis

Page 3 of 3
77 TAEFA V20210602

EFA Schedule “A” Contract #: 388254
Quantity Equipment Description Serial # Supplier Name and Contact
41 EMsculpt NEO with Small RF-+HIFEM applicators BTL Industries, Inc
1 EXILIS ULTRA System
. 362 Elm Street
Marlborough, MA 01752
866-285-1656

NU a Ss (elsd ray le) vw tel ad raat 1 ee) NORE SO) F-VU LOM LURES Bata REALS
As a convenience to Borrower, by completing this section Borrower hereby authorizes Lender to Initiate debit entries and to initiate, if necessary, credit
entries and adjustments for any debit entries in error to the account indicated below (the “Account") with the bank named below (the “Bank’) for all
amounts due under the referenced Equipment Finance Agreement (the “EFA’), including without IImitation, the Total Initial Payment shown on page 1 of
the EFA and all Payments, late fees, taxes, non-sufficient funds charges, relmbursements and other amounts due under the EFA, Borrower further
authorizes Lender or any such designee to deliver a copy of this Addendum to the Bank as evidence of Borrower's authorization. Borrower reaffirms the
account Is a commercial account in the name of the Borrower, 4

Business Name Center for Alternative Medicine

Bank Name: ENT Phone:

Commercial Checking Account Number: 1000604699100

Transit / ABA Number (lower left comer of check, 9 digits): 307070005

This authority is to remain In full force and effect until Lender and the Bank have recelved wri
{ime and in such manner as to afford Lender and the Bank a reasonable opportunity to actgon 1
business days is required. Borrower represents, warrants, covenants and agrees that, until allof its

onffsbrrower ofistermination in such
ig understood that a minimum of 15
FA, are satisfied In full: (a) the

account identified by account name, account number and bank name and address that is s! on theiface Ofihe vojdeégzeheck that Borrower provides
to Lender by attaching to this Addendum is the Account self forth above; (o}»Borrower GO good standing with the Bank
throughout the term of the EFA, except as provided herein; and (d) Lender or its om time fo time, issue a pre-nolification
to the Bank with respect to such Account. aA

Borrower agrees fo pay and authorizes Lessor to debit the Account i (‘TIP’) shown in the Schedule of Payments on Page 1
of the EFA immediately upon eaxecution_of the EFA“anaMthis Adreement by Borrower. ather_or not prior to EFA commencement, delivery or

‘ FY aid fo Lessor by Borrower’s bank for any reason, Lessor may in Its sole discretion
EFA. Borrower confirms that the Account is a commercial account in the name of

IFAS SECTION IS'FILLED OUT. YOU (THE SIGNER, PERSONALLY AS WELL AS THE
CORRECTNESS OF THIS SECTION,
in his/her capacity as an officer/owner of the Borrower and/or the Guarantor represents and warrants

0 ipment financed under this agreement will be used in the ordinary course of the business of the
Borrower; onshe fas the legal rightsa authority to sign this agreement with all necessary authority from the managing member(s),

i Sficers Rother managempnt of the Borrower and/or Guarantor and their shareholders, members, pariners or other owners; (3) the

ifthe Borrower and (4) the transaction Is-to the direct financial benefit of any Guarantor and good consideration

The person signing this agreement Indivjdeall
that (1) this agreement isduly executed and

Ownership % Name Ownership %
Theods ‘ 100
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If this Addendum is executed by Borrower and thereafter sent fo Lender by facsimile transmission, then such facsimile transmission shall, upon
acceptance and execution by Lender in its offices, be admissible for all purposes as an original Addendum. Borrower agrees to promplly forward to
Lender this Addendum with Borrower's manual signature thereon. DO NOT SIGN THIS SCHEDULE UNLESS YOU UNDERSTAND AND AGREE TO

ALL OF ITS TERMS AND CONDITIONS.
BORROWER: LENDER:
Bielsigedlfemative Medicine, PLLC aeykinaace Inc OO

Thesdore Danis Wayne Wesley

“on behalf of Borrower and Guarantor AUIS er
Theodore Davis yn y
Print Name Print Name
: 12/13/2021
Member 12/9/2021 coo /13/
Title Date Title Date

20201202

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Contract #: 375198

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Date: 3/17/2020

Borrower: Center for Alternative Medicine, PLLC
Lender: Tandem Finance Inc

This addendum is made part of the lease agreement dated between Lender and Borrower. In consideration of the receipt
by each party of good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged by each
party, the parties agree that whereas the Borrower desires to make the following changes to the above-mentioned lease
agreement: .

Contact Payments (1-6) ° $99.00 Periodic Payment (Payments 7-66) $1,856.88

Buse WAN Pere) US EELO) NES)
The Borrower hereby agrees to this change. All other terms and conditions of the Agreement remain
effect.

If this document is executed by you and thereafter sent to us by facsimile transmissjogfSfen until chitime a have
received this addendum with your manual signature thereon, such facsimilesfgansmission ae sonstitu upon
acceptance and execution by us in our offices, the original addendum and ¢ cpatel er.afd’shall bed: issible for all
purposes as the original lease agreement. You agree to promptly forwar fo Adum with your manual signature
thereon and upon receipt by us, this addendum with your manual signatur ite the chattel paper in

lieu of such facsimile transmission.
gr Tandem Finance Inc

atk orized aa

NG) pe
BORROWER: Center for Alternative Medicine, PLL
Docutigned by:
Theoden Danis
URSHZEd Signor

Theodore Davis Wayne Woolley, COO

Print Name Print Name
Managing m member} 3/17/2020 coo 3/19/2020
Title FS Date Title Date

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PSC ea
Contract# 388254

Borrower: Center for Alternative Medicine, PLLC

Financed Equipment: See Schedule "A" of the assigned EFA,

the annexed equipment finance agreement (the “EFA"), any collateral agreement, any additional collateral in the form of
Stocks, bonds, certificates of deposit, any other agreement related to the EFA and the UCC-1 between Assignor, as
lender, and the borrower identified above, together with all of Assignor's rights, title and interest, and all ancillary rights in
and to the equipment described therein, and all of the Assignor’s rights and remedies thereunder, including, but not limited
to, the right to collect any and all payments due and to become due thereon, the right to perfect any additional collateral or
collateral agreement, and all monies due or to become due in connection with the exercise by the lessee of any option, if
any, to purchase the equipment, and further including the right in Assignee’s name to take all proceedings, legal,
equitable or other, that Assignor might take, save for this assignment. The equipment in the assigned EFA is new unless
otherwise disclosed and the consideration paid by Assignee dogs not include any service or other item of value that has
not been disclosed on the EFA or the invoice provided to Assignor. To the best of Assignor’s knowledge all parties to the

I hereby assign to Pawnee Leasing Corporation, my purchase money Security interest and any other rights in the
equipment described in the EFA. If we have made any payments to the vendor for the equipment (and not to the
Borrower named above), | represent that | have made this payment, on behalf of Pawnee and as Its agent for this purpose
only, and | request reimbursement for such payment. !

if this Assignment is executed by Assignor and thereafter sent to Assignee by facsimile transmission, then until such time
as Assignee receives this Assignment with Assignor’s manual signature thereon, such facsimile fransmission shall

e
sitting in Larimer County, State of Colorado and Assignor submits to the jurisdiction of such courts and waives any object
to such jurisdiction and venue.

PUNE Ny (8) ~174-Wiie) |

ASSIGNOR:
. Authorizd Signer. a

Wayne Woolley, COO 12/13/24
Print Name, Title Date
Tandem Finance Inc.
Company

EXHIBIT

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iLien Cover Page

Date Printed: 12/14/2021

Debtor:

Center for Alternative Medicine, PLLC
2505 Kachina Dr
Pueblo, CO 81008

lease num: 388254
REF2: Tandem Finance
REF3: imcgee

REF4:

Ref6:

Ref6:

Ref7:

Law Firm Bill Code:

iLien File #: 81296000
Order Confirmation #: 83915693

UserlD: 285755
UserName: AMARILYS CASTRO DELOZIER
Number of Collateral Pages Attached: 1

Transaction Type: Original
Jurisdiction: CO, Secretary of State

Mail Address (Please send attachments to):
CT Lien Solutions

330 N. Brand Blvd Suite 700

Glendale, CA 91203

FAX: 818-662-4141

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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS Lien Solutions
Representation of filing

A. NAME & PHONE OF CONTACT AT FILER (optional)

Name: Wolters Kluwer Lien Solutions Phone: 800-331-3282 Fax: 818-662-4141 pee oe
This filing is Completed

B. E-MAIL CONTACT AT FILER (optional) File Number : 20212123106
uccfilingretun@wolterskluwer.com File Date : 14-Dec-2021
C. SEND ACKNOWLEDGMENT TO: (Name and Address)
| Lien Solutions * 83915693 | “

P.O. Box 29071 COCO

Glendale, CA 91209-9071
File with: Secretary of State, CO THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
4. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name), if any part of the Individual Debtor's
name will not fit in line 1b, leave all of item 1 blank, check here CT and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

4a. ORGANIZATION'S NAME
Center for Alternative Medicine, PLLC

4b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) SUFFIX
1c. MAILING ADDRESS CITY STATE | POSTAL CODE COUNTRY
2505 Kachina Dr Pueblo co 81008 USA

2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
name will not fitin line 2b, leave all of item 2 blank, check here Cj and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
2a, ORGANIZATION’S NAME

OR 2b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) SUFFIX

2c. MAILING ADDRESS CITY STATE [| POSTAL CODE COUNTRY

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
3a. ORGANIZATION'S NAME

C T CORPORATION SYSTEM, AS REPRESENTATIVE

OR / 3p: INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) SUFFIX
3c. MAILING ADDRESS CITY STATE | POSTAL CODE COUNTRY
330 N Brand Blvd, Suite 700; Attn: SPRS Glendale CA 91203 USA

4, COLLATERAL: This financing statement covers the following collateral:

This filing covers the following properties, assets and rights of Debtor, whether now owned or hereafter acquired (collectively the Collateral"): (a) all
personal property described below or on any exhibit attached hereto, which exhibit is incorporated by reference herein ("Specified Items"); (b) any and all
additions, replacements, parts, or accessories to the Specified Items; (c) any rental, chattel paper, accounts, security deposits, relating to the Specified
{tems or the Agreement; and (d) all proceeds of any and all of the foregoing. In the event serial numbers, vehicle identification numbers or similar
information is included below, on an exhibit attached hereto or otherwise in the description of Collateral, such information has been added by Secured
Party to the best of its information in an effort to avoid confusion but is not intended to, and shall not, limit the above description of Collateral.

Collateral Equipment Exhibit attached

a

5. Check only if applicable and check only one box: Collateral is [_]hetd in a Trust (see UCC1Ad, item 17 and Instructions) L Jbeing administered by a Decedent's Personal Representative

6a. Check only if applicable and check only one box: 6b. Check only if applicable and check only one box:
L] Public-Finance Transaction LC] Manufactured-Home Transaction A Debtor is a Transmitting Utility 1 Agricultural Lien Ol Non-UCC Filing

7. ALTERNATIVE DESIGNATION (if applicable): Oi Lessee/Lessor Ol Consignee/Consignor i Selfer/Buyer oO Bailee/Bailor oO Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:

83915693

Prepared by Lien Solutions, P.O. Box 29071,
FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11) Glendale, CA 91209-9071 Tel (800) 331-3282

% “

Case:23-12482-JGR Doc#:122 Filed:11/13/23 Entered:11/13/23 14:24:15 Page25 of 31

Quantity

EFA Schedule “A”

Equipment Description

Serial #

Supplier Name and Contact

1

EMsculpt NEO with Small RF+HIFEM applicators

BTL Industries, Inc

1

EXILIS ULTRA System

362 Elm Street

Marlborough, MA 01752
866-285-1656

“Payment History

11/10/2023

Capone ID 388254

Cpustomer Name: CENTER FOR ALTERNATIVE MEDICIN
Onddress: 2505 Kachina Dr

Ww Pueblo, CO 81008-1573

~ Start Date: 12/1/2021

term: 63

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4/3/2023 Payment 493543 41112023 $5,580.24 4/3/2023 Check AGHO40347 $5,580.24
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: )
)
CENTER FOR ALTERNATIVE ) Case No. 23-12482-JGR
MEDICINE, PLLC, ) Chapter 11
)
) (Subchapter V)
Debtor. )
)
PAWNEE LEASING CORPORATION, )
)
Movant, )
)
vs. )
)
CENTER FOR ALTERNATIVE )
MEDICINE, PLLC, )
)
Respondent. )
NOTICE OF HEARING

OBJECTION DEADLINE: December 5, 2023

YOU ARE HEREBY NOTIFIED that a Motion for Relief from Stay has been filed, a copy of
which is attached hereto.

A hearing on the motion has been set for Tuesday, December 12, 2023, at 1:00 a.m., at the U.S.
Customs Courthouse located at 721 19" Street, Courtroom B, Denver, Colorado. The hearing will be
conducted in accordance with the provisions of L.B.R. 4001-1.

IF YOU DESIRE TO OPPOSE THIS MOTION, you must file with this court a WRITTEN
OBJECTION to the motion on or before the objection deadline stated above and serve a copy upon
Movant’s attorney, whose address is listed below.

If you file an objection, you are REQUIRED to comply with L.B.R. 4001-1 regarding hearing
procedures, including (1) the timely submission and exchange of witness lists and exhibits and (2)
attendance at the above-scheduled hearing in person or through counsel, if represented.

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IF YOU FAIL TO FILE AN OBJECTION, and the scheduled hearing will be vacated, an
order granting the relief requested may be granted without further notice to you.

DATED at Denver, Colorado, this I > day of November, 2023.
Respectfully submitted,

L. SIMON, P.C.
By: / Z

Harty If. Simon (No. 7942)

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: )
)
CENTER FOR ALTERNATIVE ) Case No. 23-12482-JGR
MEDICINE, PLLC, ) Chapter 11
)
) (Subchapter V)
Debtor. )
)
PAWNEE LEASING CORPORATION, )
)
Movant, )
)
Vs. )
)
CENTER FOR ALTERNATIVE )
MEDICINE, PLLC, )
)
Respondent. )

CERTIFICATE OF SERVICE

I hereby certify that on this } ¥ day of November, 2023, a true and correct copy of the
foregoing Notice of Hearing and Motion for Relief From Automatic Stay were hereby placed in the
United States mail, postage prepaid and addressed as follows:

Center for Alternative Medicine, PLLC
2505 Kachina Drive
Pueblo, CO 80211

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Chapter 11 Trustee

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US Bankruptcy Court
US Custom House
721 19" St.

Denver, CO 80202

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